08-12667-mew          Doc 98      Filed 03/16/10       Entered 03/16/10 12:47:10         Main Document
                                                      Pg 1 of 2



 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ------------------------------------------------------x
                                                       :
 In re:                                                :       Chapter 7
                                                       :       Case No. 08-12667 (AJG)
 BOAZ BAGBAG,                                          :
                                                       :
                                     Debtor.           :
                                                       :
 ------------------------------------------------------x

           STIPULATION AND ORDER REGARDING EXTENSION OF DEADLINE TO
                     OBJECT TO DISCHARGE UNDER 11 U.S.C. § 727
                    AND DISCHARGEABILITY UNDER 11 U.S.C. § 523

                  WHEREAS, the above-named debtor (“Debtor”) filed his petition under Chapter

 7 of title 11 of the United States Code (“Bankruptcy Code”) on July 10, 2008; and

                  WHEREAS, the time for objecting to discharge in these cases pursuant to

 Section 727 of the Bankruptcy Code and to dischargeability under Section 523 of the Bankruptcy

 Code, absent further extension, will end on March 16, 2009; and

                  WHEREAS, the Debtor has agreed to extend the time for Uzi Evron, Doron

 Kessel and Roni Abudi (collectively, the "Creditors") and their respective successors and/or

 assigns to object to discharge in these cases pursuant to Section 727 of the Bankruptcy Code and

 to object to the dischargeability of any indebtedness owing from the Debtor to any of the

 Creditors pursuant to Section 523 of the Bankruptcy Code; and

                  WHEREAS, Bankruptcy Rules 4004(b) and 4007(c) contemplate and permit the

 extension of these deadlines;

                  NOW, THEREFORE, it is hereby stipulated and agreed as follows:

                 1.       The time is hereby extended through and including June 16, 2010 for the


                                                           1
08-12667-mew         Doc 98    Filed 03/16/10    Entered 03/16/10 12:47:10         Main Document
                                                Pg 2 of 2




 Creditors and any of their respective successors and/or assigns to file complaints objecting to

 discharge pursuant to Section 727 of the Bankruptcy Code in the Debtor's case.

                2.      The time is hereby extended through and including June 16, 2010 for the

 Creditors and any of their respective successors and/or assigns to file complaints objecting to the

 dischargeability of the Debtor's indebtedness to any of the Creditors pursuant to Section 523 of

 the Bankruptcy Code.

                3.      The foregoing extensions shall not limit the right of any of the Creditors

 and any successors thereto to request and obtain further extensions of the above deadlines,

 provided that the Debtor reserves the right to object to any such further extension requests.


 Dated: New York, New York
        March 8, 2010

                                               LAW OFFICES OF DANIEL M. KATZNER, PC

                                               _______s/ Daniel M. Katzner__________
                                               Daniel M. Katzner, Esq.
 1025 Longwood Avenue
                                               Bronx, NY 10459
                                               Tel: (718) 589-3999

                                               Counsel for the Debtor

SO ORDERED on this 9th day of March, 2010
in New York, New York


s/Arthur J. Gonzalez
HONORABLE ARTHUR J. GONZALEZ
CHIEF UNITED STATES BANKRUPTCY JUDGE




                                                 -2-
                                                 2
